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 LHF Productions, Inc.


                       UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  Hunter Killer Productions, Inc. et al.,   )   Case No.: 1:19-cv-168-LEK-KJM
                                            )   (Copyright)
                    Plaintiffs,             )
      vs.                                   )   MEMORANDUM IN SUPPORT OF
                                            )   APPEAL
  Qazi Muhammad Zarlish, et al.,            )
                                            )
                    Defendants.             )
                                            )

                   MEMORANDUM IN SUPPORT OF APPEAL

 I.     PROCEDURAL AND FACTUAL BACKGROUND

        Plaintiffs are the owners of the copyright protected motion pictures (“Works”)

 shown in Exhibit “1” [Doc. #1-1] of the Complaint [Doc. #1]. Plaintiffs allege that

 Defendant Hoan Pham (“Defendant”) is liable for intentional inducement and


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 contributory infringement per 17 U.S.C. §101, et seq., false description per 15

 U.S.C. §1051, et seq., unfair competition per H.R.S. §480-2 and deceptive trade

 practices per H.R.S. §481A-3 for distributing and promoting the movie piracy

 software application Show Box app. See Complaint [Doc. #1] at ¶¶172-204, 212-

 231. Plaintiffs further assert that Defendant is liable for direct infringement per 17

 U.S.C. §101, et seq., for copying the Plaintiff LHF Productions Inc.’s Work London

 Has Fallen. Id. at ¶208, Decl. of Daniel Arheidt (“Arheidt Decl.”) [Doc. #1-10] at

 ¶¶8-9, Exhibits “6” and “7” [Docs. ##1-6, 1-7] to the Complaint [Doc. #1]. The

 Complaint was filed on April 3, 2019.

       Defendant, a national of Vietnam, distributed and promoted the Show Box

 app from the interactive website “showboxofficial.com” to users in the United States

 and Hawaii. Id. at ¶¶90-91. The website brazenly promoted Show Box app as “No

 restrictions…Watch any movie or TV Show as many times as you want. All you

 need to get started with Showbox is a proper Internet connection”, and “100%

 FREE…No subscription fee or license charge. IT IS ABSOLUTELY FREE!”.




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 Id. at ¶93, Decl. of Counsel of April 3, 2019 [Doc. #1-12] at ¶6.

       Defendant’s Show Box app provides an interface so that users can easily

 download copyright protected content from torrent sources using the BitTorrent

 protocol or stream the content from unauthorized streaming sources. See Complaint

 [Doc. #1] at ¶¶141-142, Arheidt Decl. [Doc. #1-10] at ¶20.

       The Court previously granted Plaintiffs leave to serve the Defendant (and

 Defendant Nghi Phan Nhat who was successfully served) by permitting the Clerk to

 perform foreign mailing. See Order Granting Plaintiffs’ Second Ex Parte Motion

 for Order Permitting Clerk to Perform Foreign Mailing of May 22, 2019 [Doc. #17].

 However, FedEx was unable to deliver the package to Defendant because he has

 moved and changed his telephone number. See Exhibit “8” [Doc. #21-9] to

 Plaintiffs’ Ex Parte Motion for Order Authorizing Alternate Service of Process

 (“Motion”) [Doc. #21].



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       Plaintiffs’   counsel   contacted   Defendant     via   the   email    address

 hoan.pham@live.com to request his updated address on June 6, 2019. See Exhibit

 “9” [Doc. #21-10] to the Motion. After receiving no reply, on June 14, 2019

 Plaintiffs filed the Motion seeking permission to serve Defendant Hoan Pham via

 two email addresses: (1) hoan.pham@live.com; and (2) elizabethr9827@gmail.com

 (collectively, the “Email Addresses”) [Doc. #21]. On June 20, 2019, after the

 Motion was filed, Defendant sent a reply email to Plaintiffs’ counsel in which he

 made assertions regarding the allegations of paragraphs 114-119 of the Complaint

 but did not provide his new address. See Decl. of Counsel of July 3, 2019 (“Counsel

 Decl. 07032019”) [Doc. #25] at ¶2, Exhibit “1” [Doc. #25-1] to the Counsel Decl.

 07032019.

       As shown in pgs. 1-2 of Exhibit “1” [Doc. #21-2] to the Motion, the first email

 address hoan.pham@live.com is the email address the Defendant provided to his

 Internet website Host Provider Choopa LLC dba Vultr (“Choopa”). See Counsel

 Decl. 07032019 [Doc. #25] at ¶¶3, 6. Particularly, the Exhibit shows that: (i)

 Defendant had an account with Choopa at least through November 20, 2018; and (ii)

 Defendant used this first email address to communicate with Choopa and make

 payments to Choopa via his Pay Pal account as recently November 18, 2018.

       As shown in Exhibit “3” [Doc. #21-4] to the Motion, the second email address

 elizabethr9827@gmail.com (and the false name of Elizabeth Roberts and false


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 address in Canada) is the information Defendant provided to the domain registrar

 Namecheap when he registered the website domain with Namecheap on March 6,

 2017. As shown in Exhibit “4” [Doc. #21-5] to the Motion, even when he hastily

 changed his username on October 12, 2018 from hoanpv01 to elizabethroberts, he

 continued to use this second email address. Publicly available records show that

 Defendant continues to own the domain. See Decl. of Counsel at ¶2.

       As explained in the Motion, Defendant communicated with Plaintiffs’ counsel

 using the first email address initially on December 10, 2018 (when denying he had

 anything to do with the website or even knew what Show Box app was). See Counsel

 Decl. 07032019 [Doc. #25] at ¶¶7. Defendant communicated with Plaintiffs’

 counsel using the second email address (while falsely holding himself out as

 Elizabeth Roberts and admitting he was behind the website) on December 16, 2018.

 Id. at ¶11. Defendant communicated with Plaintiffs’ counsel using the first email

 address from January 19, 2019 again after conceding that he was the person behind

 the website and thus Elizabeth Roberts. Id. at ¶12.

       Nonetheless, on July 31, 2019, Magistrate Judge Mansfield issued the

 ORDER DENYING PLAINTIFFS’ EX PARTE MOTION FOR ORDER

 AUTHORIZING ALTERNATE SERVICE OF PROCESS ON DEFENDANT

 HOAN PHAM [Doc. #31] (“Order”) which states inter alia:

       [T]he Court is not persuaded that future emails to the Email Addresses are
       reasonably calculated to apprise Defendant Pham of this litigation and provide
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       him an opportunity to respond. Given their most recent correspondence, it is
       possible that Defendant Pham has abandoned the hoan.pham@live.com
       address and is no longer accessing incoming emails. In addition, Mr.
       Culpepper has not received an email from the elizabethr9827@gmail.com
       address since December 2018, over seven months ago, making it all the more
       likely that due process requirements will not be satisfied by emailing the
       service documents to this address. The Court notes that Plaintiffs have
       requested entry of default against other defendants in this case, including
       Defendant Nhat, after they did not respond to the Complaint. Under all the
       circumstances, and given that Plaintiffs will likely take the same action
       against Defendant Pham if he does not respond to the Complaint, the Court is
       hesitant to rely on the Email Addresses as the means of effecting service.
       Based on the foregoing, using its discretion, the Court finds that emailing the
       service documents to the Email Addresses is not reasonably calculated to
       provide the requisite notice to Defendant Pham regarding this lawsuit.

 See Order [Doc. #31] at pgs. 5-6.

       Plaintiffs appeal the Magistrate Judge’s decision that service by the first email

 address Defendant has used to communicate with Plaintiffs’ counsel continuously

 since December 10, 2018 and the second email address that Defendant himself

 provided to the domain registrar Namecheap for registering his domain and also used

 to communicate with Plaintiffs’ counsel fails to satisfy the due process requirements

 of Rule 4(f)(3) of the Federal Rules of Civil Procedure. Particularly, the Magistrate

 Judge’s applied an incorrect legal standard when considering the possibility that

 Defendant will default as a factor of whether the proposed means satisfies due

 process. Further, the conclusion that serving the Defendant at email addresses

 Defendant has used as recently as June for communicating with Plaintiffs’ counsel




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 and for conducting business with his domain registrar and website host provider do

 not satisfy due process is clearly erroneous.

 II. STANDARD OF REVIEW

       Local Rule 74.1 provides that “any party may appeal from a magistrate

 judge’s order determining a motion or matter under LR 72.3…within (14) days

 after being served with a copy of the order.” LR 74.1.

       Pursuant to 28 U.S.C. § 636(b)(1)(A), Federal Rule of Civil Procedure 72(a),

 and Local Rule 74.1, any party may appeal to the District Court any nondispositive

 matter determined by a Magistrate Judge. Such an order may be reversed by the

 District Court Judge only when it is “clearly erroneous or contrary to law.” 28

 U.S.C. § 636(b)(1)(A); LR 74.1. An order is “contrary to law” when it “fails to

 apply or misapplies relevant statutes, case law, or rules of procedure.” Akey v.

 Placer Cty., 2017 WL 1831944, at *10 (E.D. Cal. May 8, 2017) (citation and

 quotation marks omitted). “A decision is contrary to law if it applies an incorrect

 legal standard or fails to consider an element of the applicable standard.” Lovell v.

 United Airlines, Inc., 728 F. Supp. 2d 1096, 1100 (D. Haw. 2010) (quoting Na Pali

 Haweo Cmty. Ass'n v. Grande, 252 F.R.D. 672, 674 (D. Haw. 2008)) (internal

 quotation marks omitted). See also Hunt v. Nat'l Broad. Co., 872 F.2d 289, 292

 (9th Cir. 1989) (noting that such failures constitute abuse of discretion).




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       An order is “clearly erroneous” if, after review, the Court has a “definite and

 firm conviction that a mistake has been committed.” Easley v. Cromartie, 532 U.S.

 234, 242 (2001); Fisher v. Tucson Unified Sch. Dist., 652 F.3d 1131, 1136 (9th

 Cir. 2011); Cochran v. Aguirre, 2017 WL 2505230, at 1 (E.D. Cal. June 9, 2017)

 (citing cases). “[R]eview under the ‘clearly erroneous’ standard is significantly

 deferential.” Concrete Pipe & Prods. v. Constr. Laborers Pension Tr., 508 U.S.

 602, 623 (1993). Thus, the district court “may not simply substitute its judgment

 for that of the deciding court.” Grimes v. City & Cty. of S.F., 951 F.2d 236, 241

 (9th Cir. 1991); Cochran, 2017 WL 2505230, at 1.

 III. LEGAL STANDARD

       Rule 4(f)(3) allows services “by other means not prohibited by international

 agreement, as the court orders.” Fed. R. Civ. P. 4(f)(3). The Ninth Circuit has held

 that “the task of determining when the particularities and necessities of a given case

 require alternate service of process under Rule 4(f)(3)” is “commit[ed] to the sound

 discretion of the district court.” Rio Properties, Inc. v. Rio Int'l Interlink, 284 F.3d

 1007, 1016 (9th Cir. 2002) (“Rio”). Service under Rule 4(f)(3) must “comport with

 constitutional notions of due process” and must be “reasonably calculated, under all

 the circumstances, to apprise interested parties of the pendency of the action and

 afford them an opportunity to present their objections.” Id. at 1016-17 (internal

 quotation marks omitted). “Courts have authorized a wide variety of alternative


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 methods of service under Rule 4(f)(3).” Id. at 1016. Alternative service methods

 approved by courts include publication, ordinary mail, email, and delivery to a

 defendant’s attorney. Id.

 IV.   STATEMENT OF APPEAL

       Magistrate Judge Mansfield’s Order denying Plaintiff’s Motion (1) applied

 an incorrect legal standard of whether Defendant is likely to default in considering

 whether the proposed means comports with due process; and/or (2) is clearly

 erroneous because it fails to consider the overwhelming evidence that the email

 addresses are being used by Defendant. Plaintiffs appeal the portion of the Order

 denying service under Rule 4(f)(3).

 A.    Magistrate Judge Mansfield’s Order applied an incorrect legal standard of

 what comports with constitutional notions of due process.

       In Rio, the Ninth Circuit stated that a method of service of process per Rule

 4(f)(3) must “comport with constitutional notions of due process”. Rio at 1016.

 The Rio Court determined that to meet this requirement the method of service must

 be “reasonably calculated, under all the circumstances, to apprise interested parties

 of the pendency of the action and afford them an opportunity to present their

 objections.” Rio at 1016-1017, citing Mullane v. Cent. Hanover Bank & Trust Co.,

 339 U.S. 306, 314, 70 S.Ct. 652, 94 L.Ed 865 (1950) (Jackson, J.). The key

 language is “apprise…of the action” and “afford…an opportunity”.


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        In the Order Judge Mansfield went beyond the requirements elaborated in

  Rio and considered that “…Plaintiffs have requested entry of default against other

  defendants in this case…after they did not respond to the Complaint” and

  “…Plaintiffs will likely take the same action against Defendant Pham if he does

  not respond to the Complaint…” Order at pg. 5. However, the proper legal

  standard as elaborated in Rio does not include speculation based upon whether the

  party will fail to answer the complaint and how Plaintiffs will respond to such

  failure. Rather, the proper legal standard is whether the proposed means is

  reasonably calculated, under all the circumstances, to apprise interested parties of

  the pendency of the action and afford them an opportunity to present their

  objections.

        The suitability of Plaintiffs’ proposed means of service is clearly shown by

  Defendant’s email reply of June 20, 2019 in which he first mentions “lawsuit” and

  then makes assertions against specific allegations in paragraphs in the Complaint

  thereby showing that he must have read the Complaint. See Exhibit “1” [Doc. #25-

  1] to Counsel Decl. 07032019 [Doc. #25]. Defendant’s own email reply shows

  that email has apprised him of this action and given him an opportunity to present

  his objections.




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  B.     Magistrate Judge Mansfield’s Order is clearly erroneous because it fails to

  consider the overwhelming evidence that the email addresses are being used by

  Defendant.

        It is simply not plausible to speculate that Defendant has “abandoned the

  hoan.pham@live.com address and is no longer accessing incoming emails” as

  asserted in the Order. Order at pg. 5. In the contrary, because this is the email

  address Defendant used to conduct his business affairs such as communicating

  with the website host provider Choopa and make Paypal payments, it is highly

  unlikely that he has abandoned it. See Counsel Decl. 07032019 [Doc. #25] at ¶¶3,

  6, Exhibit “1” [Doc. #21-2] to the Motion at pgs. 1-2.

        The second email address is the address Defendant provided to his domain

  registrar Namecheap. See Exhibit “3” [Doc. #21-4] to the Motion. The Order

  raises a concern that Plaintiffs’ counsel has not communicated with Defendant via

  the second email address since December 2018. See Order at pg. 5 (In addition,

  Mr. Culpepper has not received an email from the elizabethr9827@gmail.com

  address since December 2018, over seven months ago…) However, this second

  email address was chosen by Defendant when registering his domain with

  Namecheap under the false identity Elizabeth Roberts and used to communicate

  with Plaintiffs’ counsel under said false identity. See Counsel Decl. 07032019

  [Doc. #25] at ¶¶7,11. Once Plaintiffs’ counsel informed Defendant on January 19,


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  2019 that his ruse had been uncovered, there was no need for Defendant to

  communicate with Plaintiffs’ counsel via the second email address under the false

  identity of Elizabeth Roberts or vice versa. Id. at ¶12. From that time, Plaintiffs’

  counsel and Defendant exchanged communication only through the first address

  and under his real name Hoan Pham. However, this second email address is the

  email address Defendant used to register the domain of his website with

  Namecheap. Accordingly, Defendant must monitor this email address for his

  dealings with the Registrar. Thus, Plaintiffs also proposed including the second

  email address as means to serve Defendants. It should be noted that the publicly

  available WHOIS records show that this domain record has not changed since

  September 16, 2018 and that the Registrar is still Namecheap. See Decl. of

  Counsel at ¶2. Accordingly, Defendant must be still using the second email

  address with respect to his dealings of the domain registrar Namecheap.

  C.    Magistrate Judge Mansfield’s Order encourages poor public policy.

        Finally, Plaintiffs respectfully point out that allowing Defendant to avoid

  service by putting a false name and address with his Registrar is poor public

  policy. This Court has made clear in similar cases that preliminary injunctive

  relief will not be granted absent service of the Defendant per Fed. R. Civ. P. 4. See

  Venice PI, LLC et al. v. Doe 1 d/b/a YIFY et al., 1:19-cv-169-LEK-KJM, Doc. #36

  (Denying Plaintiffs’ Motion for Preliminary Injunction for failing to complete


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  service per Rule 4), Venice PI, LLC et al. v. Bovee et al., 1:19-cv-335-JAO-KJM,

  Doc. #79 (Denying Plaintiffs’ Motion for Temporary Restraining Order as

  premature because Defendant had not yet been served). Plaintiffs would be left

  with no remedy for seeking injunctive relief in these types of situations if not

  allowed to serve Defendants by the email address Defendants themselves provided

  to their domain registrars.

  V.    CONCLUSION

        Magistrate Judge Mansfield improperly applied a legal standard of speculation

  as to what future actions Defendant would take in response to service by email rather

  than whether the requested means of service comports with due process in the Order.

  The conclusion in the Order that serving Defendant via the email addresses he used

  to communicate with Plaintiffs’ counsel, his domain Registrar Namecheap and his

  website hosting provider Choopa fails to satisfy due process requirements is clearly

  erroneous.

        Accordingly, the Order is clearly erroneous and contrary to law. For the

  foregoing reasons, the Court should REVERSE the denial and grant Plaintiff’s

  Ex Parte Motion For Order Authorizing Alternate Service of Process on

  Defendant Hoan Pham.


        DATED: Kailua-Kona, Hawaii, August 8, 2019.



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